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 4
     Attorney for Defendant
 5 Sarah Marshall
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,     )            No. 11-cr-365-GEB
13                                 )
                   Plaintiff,      )            STIPULATION AND [PROPOSED]
14                                 )            ORDER TO CONTINUE MOTION
         v.                        )            HEARING AND MODIFY BRIEFING
15                                 )            SCHEDULE
   Sarah Marshall,                 )
16                                 )            Date: May 25, 2012
                   Defendant.      )            Time: 9:00 a.m.
17 _______________________________ )            Hon. Garland E. Burrell, Jr.
18
19         Defendant Sarah Marshall, through her undersigned counsel, and the United
20 States, through its undersigned counsel, hereby stipulate and request that the
21 motion hearing date currently set for defendant Marshall’s motions on April 27,
22 2012 at 9:00 a.m. be vacated and continued to May 25, 2012 at 9:00 a.m. The
23 parties further stipulate and request that the due date for the government’s
24 response to defendant Marshall’s motions be extended to May 4, 2012, and the
25 defendant’s reply briefs, if any, be filed by May 15, 2012.
26         Time is currently being excluded under the Speedy Trial Act for the
27 pendency of motions.
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 1                                       Respectfully submitted,
 2
 3 DATE: April 13, 2012                  /s/ John Balazs
                                         JOHN BALAZS
 4                                       Attorney for Defendant
                                         SARAH MARSHAL
 5
 6
     DATE: April 13, 2012                BENJAMIN B. WAGNER
 7                                       United States Attorney
 8
                                   By:   /s/Daniel McConkie
 9                                       DANIEL McCONKIE
                                         Assistant U.S. Attorney
10
11
12                                       ORDER
13        IT IS SO ORDERED. The Motion Hearing as to defendant Marshall only
14 on April 27, 2012 at 9:00 a.m. is vacated and continued to May 25, 2012 at 9:00
15 a.m. It is further ordered that the government’s response to defendant Marshall’s
16 motions is now due May 4, 2012, and defendant’s reply briefs, if any, are due May
17 15, 2012.
18 Dated: April 13, 2012
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21                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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